Case 1:21-cr-00046-RDM Document 23 Filed 04/16/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.

PATRICK MONTGOMERY, and
BRADY KNOWLTON,

Defendant.

CRIMINAL NO. 21-CR-46 (RDM)
MAGISTRATE NO. 21-MJ-347

VIOLATIONS:

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)

INDICTMENT

The Grand Jury charges that:
Case 1:21-cr-00046-RDM Document 23 Filed 04/16/21 Page 2 of 5

COUNT ONE

On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, Officer D.H., an officer from the Metropolitan Police Department, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY, committed and attempted to commit an act to obstruct, impede, and interfere
with a law enforcement officer, that is, Officer D.H., an officer from the Metropolitan Police
Department, lawfully engaged in the lawful performance of his/her official duties incident to and
during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely
affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, PATRICK

MONTGOMERY, did knowingly engage in any act of physical violence against any person and

property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
Case 1:21-cr-00046-RDM Document 23 Filed 04/16/21 Page 3 of 5

restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY, willfully and knowingly engaged in an act of physical violence within the
United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON, did unlawfully and knowingly enter and remain
in arestricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON, did knowingly, and with intent to impede and
disrupt the orderly conduct of Government business and official functions, engage in disorderly
and disruptive conduct in and within such proximity to, a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-elect were temporarily visiting, when and
Case 1:21-cr-00046-RDM Document 23 Filed 04/16/21 Page 4of5

so that such conduct did in fact impede and disrupt the orderly conduct of Government business
and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, PATRICK

MONTGOMERY and BRADY KNOWLTON, willfully and knowingly engaged in disorderly

and disruptive conduct within the United States Capitol Grounds and in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON, willfully and knowingly paraded, demonstrated,
and picketed in any United States Capito] Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON, willfully and knowingly entered and remained
in the gallery of either House of Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))
Case 1:21-cr-00046-RDM Document 23 Filed 04/16/21 Page5of5

COUNT TEN
On or about January 6, 2021, within the District of Columbia and elsewhere, PATRICK
MONTGOMERY and BRADY KNOWLTON, attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, by entering
and remaining in the United States Capitol without authority and committing an act of civil
disorder and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

A TRUE BILL:

FOREPERSON.

ary Dhhihpe ew -

Attorney of the United States in
and for the District of Columbia.
